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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION


STATE OF TEXAS, et al.,

              Plaintiffs,

       v.                                               Civil Action No. 6:23-cv-00013

BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES, et al.,

              Defendants.



                                     [PROPOSED] ORDER

            Having considered Defendants’ Unopposed Motion for Extension of Time to

Respond to Plaintiffs’ Complaint, and good cause appearing, the Court hereby GRANTS the

Motion. It is HEREBY ORDERED that:

   •        Defendants’ time to respond to Plaintiffs’ Complaint shall be extended until 30 days

            after the Court issues a ruling on Plaintiffs’ Motion for Preliminary Injunction, ECF

            No. 16.


IT IS SO ORDERED.

Dated:                                            ________________________________
                                                  HON. DREW B. TIPTON
                                                  UNITED STATES DISTRICT JUDGE
